Case 2:04-cr-20044-.]DB Document 15 Filed 05/03/05 Page 1 of 2 Page|D 17
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:N THE UNITED STATES DISTRICT COURT 9mm " PH 2 2’
FOR THE wESTERN DISTRICT oF TENNESSEE op _r __ quwr_
”`¢ ei,He#JM

wESTERN DIVISION " il ,3 mr Cj.j

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UNITED STATES OF AMERICA, *

Plaintiff, *
v. * CR. NO. 04~20044 B
JIMMY W. HART, *

Defendant. *

 

ORDER

 

CONSIDERING THE FOREGOING UnOppOSed MOtiOn to COntinue, a
Continuance of the Supervised Release Hearing in the above
captioned matter 23 IS IS NOT Granted and it is hereby re

Set to the 2_,_r\d day cf JL{M;__,_ , 2005 at 2.`,00'0¢/;/\

a.m./p.m.

THUS Ordered this §§ day Of f leg , 2005 at

Memphis, Tenneesee.

  

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UNITED STATES JUDGE

 

D"ISIC COURT - WESTRNE D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 15 in
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J. Patten BroWn

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Terrell L. Harris

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

